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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA,

                           Plaintiff,

               v.                                         Case No. 07 CR 410-12

DAWNYA PARKER,                                       Hon. Harry D. Leinenweber

                           Defendant.


                           MEMORANDUM OPINION AND ORDER

                                      I.   BACKGROUND

        This case is proceeding on a superceding indictment that was

handed down on December 13, 2007, against 22 defendants, including

Dawnya Parker (hereinafter, “Parker”), charging a drug conspiracy

and possession of fire arms to advance the conspiracy.                          Prior to

the original indictment in this case, the United States Attorney’s

Office (hereinafter, the “Government”) filed Title III applications

seeking a telephone tap on cell phone no. 773-640-8809, supported

by all necessary authorizations and including a 49-page affidavit

by     Brent   Williams      setting       forth    the     factual     bases   for    the

application.        One of the named interceptees was Dawnya Parker.

Based on this application on May 21, 2007, Chief Judge James

Holderman      authorized        the   wire      tap.      On    June    21,   2007,   the

Government sought a 30-day extension of the wire tap on phone no.

773-640-8809        as    well   as    a   new     wire    tap   on     cell   phone   no.

773-889-8742.            Again one of the named interceptees was Dawnya
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Parker.      The   new   applications     again   contained     all   necessary

authorizations and were supported by a 56-page affidavit of Gerald

Pointer.    Chief Judge Holderman authorized both the extension and

the new wire tap.

     The Defendant Parker has moved to suppress the Title III

material based on alleged shortcomings of the two affidavits,

contending that neither established the necessity as required by

the statute and both relied on boilerplate recitations rather than

“real” facts.      She also contends that the Government, contrary to

the orders of authorization did not take steps to minimize the

intrusive nature of the wire taps.              The Government responds by

arguing that the affidavits adequately established necessity and

the taps were minimized although it points out that none of the

calls alleged to have violated the minimization order involved

Parker.

                              II.    DISCUSSION

     Title 18, Section 2518, U.S.C.A., authorizes a judge of

competent    jurisdiction     to    authorize     wire   taps   based    on   the

submission    of    an   application     containing      certain   statutorily

required information.      Among the required information as set forth

in Section 2518(1)(c):

            (c)    a full and complete statement as to
                   whether   or  not   other   investigative
                   procedures have been tried and failed or
                   why they reasonable appear to be unlikely
                   to succeed if tried or to be too
                   dangerous.

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Because Parker relies on the alleged failure to plead necessity

properly in the application the Court will turn to each application

in turn.

       First, it will be helpful to review the Seventh Circuit case

law on the subject.      First, the requirements of Section 2518(1)(c)

are listed in the alternative so that the Government need establish

only one of the three reasons.          U.S. v. Fudge, 325 F.3d 910, 918

(7th Cir., 2003).       The burden of proving necessity is not high and

must be viewed in a practical and common sense fashion.                Fudge at

919.   Use of wire taps must not be the first resort but need not be

the last resort.        Fudge, 325 F.3d at 919.          The application, of

course, cannot be mere boilerplate conclusions but must set forth

facts to enable the court to make a reasoned determination of the

necessity.    The finding of necessity is reviewed under an abuse of

discretion standard. U.S. v. Zambrana, 841 F.2d 1320, 1329-30 (7th

Cir., 1988).

       With these principles in mind we examine the affidavits.                   In

support of the original application for a tap on 773-640-8809, DEA

Special Agent, Brent D. Williams, stated that he had been employed

in that capacity for three years and had received specialized

training     in   and     been    personally      involved      in    narcotics

investigations of drug trafficking organizations.             The information

in his affidavit came from his own participation as well as results

of other forms of investigation including physical surveillance,


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telephone    pen    registers,         trap         and   trace   records,       consensual

recorded conversations, lab reports, NCIC records, oral discussions

with law enforcement officers, and information from confidential

informants.

     As a result of this investigation he was aware that Calvin

Buffington    was       the   leader    of      a    large   scale   drug    trafficking

organization that was made up of family members and lifelong

friends and that the target cell phone was issued to him.                          Based on

phone records and pen registers, the target phone had been used

hundreds of times with known members of the DTO over a five-month

period.     The proposed wire tap was needed because the methods of

investigation utilized to that date had not been successful in

determining       the    full   scope      of       the   drug    organization,      or   in

identifying suppliers, customers, stash locations, management of

process, and routes that the narcotics and proceeds were taking.

While some drug seizures had taken place, these seizures did not

disclose    the    sources      or   the     potential       customers      of    the   drug

organization.           Physical and residential surveillance had been

tried, but without prior knowledge of time and place of meeting, it

was a hit or miss exercise.                     If excessive time was spent on

surveillance, suspicions of the organization members might be

aroused. Grand Jury subpoenas would face a Fifth Amendment problem

in obtaining useful testimony and would be much more effective if

greater knowledge of an individual’s participation was known and


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telephone taps would help in gaining this knowledge.                   Cooperating

individuals had already been effectively used in the investigation,

but telephone evidence was needed to corroborate their testimony

and to counter expected impeachment (the cooperators had long

criminal records and were paid informants – which would be great

fodder for cross-examination). Interviews of participants had been

tried but their usefulness was weakened by false leads which the

taps would help corroborate or disprove. Searches by warrant would

be aided by providing information upon which to base a request for

a warrant.     A pole camera had been used but the only feasible

location offered only a limited view.           Pen registers had been used

and the results provided a basis for the request for a telephone

tap.

       It is clear based on the foregoing that the factual support

for the application was as least as extensive as was present in

United States v. Fudge.          The wire taps were certainly not the

initial steps in this investigation.                Many if not all of the

possible   investigative       techniques     had   been   used   with     limited

success.      While    the     confidential    informants      had      given   the

Government much valuable information as to the scope and extent of

the organization, nevertheless, it is important to remember that

the Government must prove its case beyond a reasonable doubt

against each of the defendants and it is extremely important that

the    Government     obtain    corroborating       evidence      so    that    the


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cooperating witnesses, if needed to testify, could successfully

withstand cross-examination.

       The request for the extension of the tap on 773-640-8809 and

the application for a tap on 773-899-8724 was based on the same

information that formed the original application for the tap on

773-640-8809 plus information obtained from the taps and pen

registers to 773-899-8724, which showed that the latter was used in

conversation with alleged members of the DTO several hundred times.

Also   the   taps   demonstrated        that    Calvin    Buffington       was    using

multiple cell phones to conduct the drug business.                         Thus, the

necessity demonstrated for the initial tap is certainly valid for

proving necessity for both the extension of the tap on 773-640-8809

and for the tap on 773-899-8724.           In short, it is not improper for

the Government to ask for and obtain wire taps to shore up its case

against the known individuals and to attempt to find out unknown

members of the organization, its suppliers and customers.

       Parker    also   argues    that     the    Government     failed      in    its

obligation to minimize the monitoring to avoid listening in on

unrelated       communications.          While     this    is    a    requirement,

nevertheless, the eavesdroppers are to be given a certain amount of

latitude     depending    on     the    kind     and   scope    of   the    criminal

enterprise.      U.S. v. Mansoori, 304 F.3d 635, 647 (7th Cir., 2002).

Here, as the Government points out, the conspiracy involved family

members and close friends.             Consequently, it could reasonably be


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expected   that    the    conspirators     might     include   non-drug-related

matters    in     conversations        involving     the   drug   organization.

Moreover, the Government submitted progress reports as required to

the   Chief     Judge    and   almost    all    calls   that   were   subject     to

minimization consisted of three minutes or less which has been

suggested are not violations of the minimization requirement. See,

Mansoori, p. 647.         Moreover, the appropriate relief would be to

suppress the specific conversation inappropriately monitored. U.S.

v. Mares-Martinez, 240 F.Supp.2d 803, 816 (N.D. Ill., 2002) and it

is noteworthy that none of the alleged non-minimized calls involved

Parker.

                                III.    CONCLUSION

      For the reasons stated herein, the Defendant’s Motions to

Suppress are denied.

IT IS SO ORDERED.




                                                Harry D. Leinenweber, Judge
                                                United States District Court

DATE: August 12, 2008




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